4:09-cr-03031-RGK-CRZ         Doc # 65   Filed: 05/17/10    Page 1 of 1 - Page ID # 311




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )
                 Plaintiff,               )                   4:09CR3031
                                          )
          V.                              )
                                          )
MICHAEL KONING, LOWELL                    )        MEMORANDUM AND ORDER
BAISDEN, and SUSAN                        )
BAISDEN-KONING                            )
                                          )
                 Defendants.


    IT IS ORDERED:

    1.    The Motions to Continue filed by defendants Lowell Baisden and Susan
          Baisden-Koning (filing nos. 62 and 63), are granted. As to all the defendants,
          the deadline for filing pretrial motions is continued to June 30, 2010.

    2.    The government is given 21 days to file its response to any pretrial motions
          filed by the defendants.

    3.    As previously determined, (see filing no. 21, ¶ 6), this case is “unusual and
          complex;” it would be unreasonable for the court to require counsel and the
          parties to be ready for trial within the time restrictions of the Speedy Trial Act;
          and therefore this case is exempted from the time restrictions of that Act. See
          18 U.S.C. 3161(h)(7)(B)(ii).

    DATED this 17th day of May, 2010.

                                         BY THE COURT:

                                         S/ Cheryl R. Zwart
                                         United States Magistrate Judge
